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                                                                                          Exhibit 2
               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION
    IN RE:                        §
                                  §
    MIDTOWN SCOUTS SQUARE         §      CASE NO. 13-32920
    PROPERTY, LP                  §      (Chapter 11)
                                  §
    MIDTOWN SCOUTS SQUARE, LLC §
                                  §
                                  §
            DEBTORS.              §        Jointly Administered
                                  §            Judge Brown



     DEBTORS’ MODIFICATION TO THE JOINT PLAN OF REORGANIZATION
              PURSUANT TO 1127 OF THE BANKRUPTCY CODE

TO THE UNITED STATES BANKRUPTCY COURT, CREDITORS AND PARTIES IN
INTEREST:

       Pursuant to Section 1127 of the Bankruptcy Code, the Debtors hereby submits the
following Modification to the Chapter 11 Joint Plan of Reorganization filed on May 13, 2014
(“Plan”) (Doc. # 147):

                I.       Modification to Article 4.4.

                Section 4.4 shall be modified and superseded as follows:

        Class 4.4            Allowed Claim of Mercantile Capital Corporation / 504 SBA Loan.


                     4.4.1 Classification: Class 4 consists of the Allowed Secured Claim of
                     Mercantile Capital Corporation (the “Interim Lender”) in the amount of
                     $3,350,400.00 (the "Mercantile Loan"), which is eligible to be converted to a
                     permanent SBA financing. Pursuant to the Eighth Note Modification, the
                     current maturity date of the Mercantile Loan is April 5, 2016 (the "Mercantile
                     Maturity Date").

                     4.4.2 Treatment. Either before or as soon as practical after the Effective Date,
                     the Reorganized Debtors, together with the cooperation of the CDCC and the
                     Interim Lender, shall attempt to secure funding of the 504 SBA loan (the “504
                     Loan”) in the amount of no less than $3,376,000, the proceeds of which shall
                     be used to pay the Interim Lender in full. The Interim Lender agrees to
                     cooperate with the Reorganized Debtors and the CDCC with respect to seeking



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                    extensions of the SBA eligibility of the 504 Loan. In addition, subject to
                    approval by the SBA and Interim Lender, the 504 Loan shall be reflected by a
                    promissory note payable over 20 years with interest to accrue at 4% (or the rate
                    determined for an SBA debenture), and shall be secured by a second lien and
                    deed of trust on the Office Building pursuant to the terms of the pre-petition
                    Authorization for Debenture Guarantee between the Debtors and the SBA.
                    Until such time as the 504 Loan is approved and funded and the Interim Lender
                    is paid in full, the Debtors shall make all regular payments, including the
                    reasonable fees and expenses of Mercantile incurred in these Chapter 11 cases
                    as an over-secured creditor and otherwise comply with the applicable loan
                    documents.

                    During the time the Debtor seeks approval of the 504 Loan and by agreement
                    of the Debtor and Interim Lender, the Debtor shall continue to make payments
                    to the Interim Lender pursuant to the Eighth Note Modification (attached
                    hereto). In the event any court of competent jurisdiction finds that the Richey
                    Group holds collectively a 27% interest in the Debtor, then Mercantile reserves
                    the right to require the Richey Parties to execute guarantees of the Mercantile
                    Loan to both Mercantile and/or the SBA as an additional condition for the
                    extension of the maturity date.

                    In the event the SBA declines any extensions requested by the Reorganized
                    Debtors, declines the 504 SBA loan or the Mercantile Loan cannot be
                    submitted to the SBA for any reason, including a material change in
                    circumstances, then upon receiving notification from the SBA or CDCC, the
                    Debtors shall commence making principal and interest payments based on a
                    twenty (20) year amortization schedule to the Interim Lender on the next due
                    date and for each month thereafter until the Mercantile Loan matures on its
                    own terms or the Debtors find replacement financing to payoff the Mercantile
                    Loan. If the Mercantile Loan is not paid in full by the Mercantile Maturity
                    Date, including the Interim Lender's fees and costs, the Interim Lender can
                    exercise its rights under the applicable loan documents and Second Deed of
                    Trust.



Class 4 Claim is impaired.




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                                   EIGHTH NOTE MODIFICATION

         THIS EIGHTH NOTE MODIFICATION, made as of this date of October 2, 2014, by
MIDTOWN SCOUTS SQUARE PROPERTY, LP, a Texas Limited Partnership, whose address is
191 l Bagby, Houston, Texas 7002-8594 (the "Maker"), is to be attached to and made a part of that certain
Promissory Note bearing the date of January 31, 2011 (the "Note") and also that certain First Note
Modification bearing the date of January 1, 2012 (the "First Modification"), and also that certain Second
Note Modification bearing the date of July 30, 2012 (the "Second Modification"), and also that certain
Third Note Modification bearing the date of October 4, 2012 (the "Third Modification"), and also that
certain Fourth Note Modification bearing the date of April 24, 2013 (the "Fourth Modification"), and also
that certain Fifth Note Modification bearing the date of August 12, 2013 (the "Fifth Modification"), and
also that certain Sixth Note Modification bearing the date of March 25, 2014 (the "Sixth Modification"),
and also that certain Seventh Note Modification bearing the date of July 21, 2014 (the "Seventh
Modification"), each made by Maker in favor of MERCANTILE CAPITAL CORPORATION, a
Florida Corporation, whose address is 60 North Court Avenue, Suite 300, Orlando, Florida 32801 (the
"Holder") in the original principal amount of $3,350,400.00, of which $3,350,400.00 is currently
outstanding.

        NOW, THEREFORE, in consideration of the payments and requirements as outlined below, and
other good and valuable consideration, it is hereby agreed that the Note is hereby modified and will
henceforth read as follows:

          MATURITY DATE:          April 5, 2016

          The Maturity Date of the Note is being extended as set forth herein with continued monthly
          payments of interest only to allow ample time for Maker to resolve two lawsuits now
          pending against Maker in the District Court of Texas. Maker acknowledges that resolution
          of these two lawsuits is necessary prior to the Maturity Date so as to enable the Loan to be
          submitted to the United States Small Business Administration ("SBA") for debenture
          funding. Though the SBA has issued Authorization number 43974250-05, it is scheduled
          to expire on December 1, 2014. Holder agrees to make a good faith effort to secure an
          extension of the Authorization but makes no guarantee that an extension of the
          Authorization will be forthcoming. Should Maker not resolve those lawsuits in a manner
          consistent with enabling debenture financing to occur prior to the Maturity Date, Maker
          will make arrangements for alternative financing in order to retire the debt outside the SBA
          debenture process. Notwithstanding the foregoing, the Loan shall be due on or before the
          Maturity Date set forth above. In addition, should the SBA Authorization expire and not be
          extended, then on the S1h of the month following the notification that the extension will not
          be approved, the monthly payment will become $31,779.11 which will consist of a
          principal and interest payment based upon a 20 year amortization.

          In addition to interest payments due (and potential principal and interest payments of
          $31,779.11 as noted above) on the Note, beginning on the fifth (5th) day of October, 2014
          and continuing on the fifth (5th) day of each month thereafter, Maker shall pay to Holder:
          (a)      a renewal fee of Two Thousand Seven Hundred Ninety-Two and No/100 Dollars
          ($2,792.00), said payments to continue monthly until the Note and all accrued interest is
          paid in full; and
          (b)      Five Thousand and No/ 100 Dollars ($5,000.00) per month as and for
          reimbursement of Holder's legal fees incurred to date and to be incurred by Holder, said
          monthly payments to continue until Holder's legal expenses, now totaling $39, 111 .75, are
          paid in full.

          (continued on following page)

Eighth.Note Modification
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Eighth Note Modification
Maker: Midtown Scouts Square Property, LP
Holder: Mercantile Capital Corporation
page two

       1.       The Maker covenants and agrees that it shall be personally liable for the repayment of all
sums due under the Note, as modified by the First Modification, the Second Modification, the Third
Modification, the Fourth Modification, the Fifth Modification, the Sixth Modification, the Seventh
Modification, and this Eighth Modification.

           2.       Thls Modification shall be governed by and construed according to the laws of the State of
Florida.

        3.       The remaining terms and provisions of the Note, as well as the First Modification, the
Second Modification, the Third Modification, the Fourth Modification, the Fifth Modification, the Sixth
Modification, and the Seventh Modification, if not specifically amended hereby, shall remain in full force
and effect as if more fully set forth herein.

        4.      By their signatures hereto, Guarantors, jointly and severally, approve the matters set forth
herein and in each of the prior Note Modifications as described above, and reaffirm their respective written
Guaranties of the Note, as modified.

        IN WITNESS WHEREOF, the undersigned has caused this Note Modification to be executed as
of the date above first written.

MAKER:                                                   GUARANTORS:
MIDTOWN SCOUTS SQUARE PROPERTY, LP,                      Advanced Diagnostics Management, LLP,
a Texas Limited Partnership                              a Texas Limited Liability Partnership;
by: Midtown Scouts Square, LLC,                          Chopra Imaging Centers, lnc.,
a Texas Limitedvcia ility Company,                       a Texas Corporation;
as Genera~Part e                                         Chopra and Associates,
                                                         a Texas Professional Association;
by: (sign) /                                             X-Ray X-Press Corporation,
Lucky A. C pra                                           a Texas Corporation;
Sole Member and also Limited Partner                     L. Chopra MD, PA,
(date) October       z. V ,
                       2014                              a Texas Professional Association; and
                                                         Sosa, Inc.,
                                                         a Texas Corporati

                                                         by: (sign)_ _,,__b'-- -- - -
                                                         Lucky A. Cho
                                                         Managing P      er, President, President,
                                                         President, President, and President, respectively
                                                         {also acknowledging individually, as Individual Guarantor]
                                                         (date) October          Z Z-       2014




                                                                                                                      2
Eighth Note Modification
